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IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF

MISSISSIPPI

Eric Brian Rosenberg, aka E. Brian Rose,
Plaintiff

Ve

CITY OF OCEAN SPRINGS, MISSISSIPPI,

KENNY HOLLOWAY, in his official and individual capacities,
JENNIFER BURGESS, in her official and individual capacities,
PATTY GASTON, in her official and individual capacities,
KEN PAPANIA, in his official and individual capacities,

MIKE IMPEY, in his official and individual capacities,

ROBERT WILKINSON, in his official and individual capacities,

KENNY WILLIAMS, in his official and individual capacities,
BONNIE MUNRO, in her official and individual capacities,
RYAN LEMAIRE, in his official and individual capacities
and JOHN/JANE DOES 1-10

Defendants.

Cause No.:

SOUTHERN DISTRICT OF MISSISSIPPI
FILED
ARTHUR JOHNSTON
BY DEPUTY

|. 29cv 162 HA-PWR

COMPLAINT FOR DECLARATORY RELIEF, INJUNCTIVE RELIEF, AND DAMAGES FOR
VIOLATIONS OF CONSTITUTIONAL RIGHTS, DEFAMATION, INTENTIONAL
INFLICTION OF EMOTIONAL DISTRESS, AND ILLEGAL SURVEILLANCE UNDER

MISSISSIPPI LAW

(JURY TRIAL DEMANDED)

COMES NOW the Plaintiff, Eric Brian Rosenberg, also known professionally as E. Brian Rose,
in Pro Se, and for his Complaint against the Defendants, alleges and states as follows:

Introduction

1. This is an action seeking relief to protect the constitutional, statutory, and common law rights of
Plaintiff, Eric Brian Rosenberg, known professionally as E. Brian Rose. Brought under 42 U.S.C.
§ 1983 and applicable state law, this case arises from a pattern of retaliatory conduct, defamation,
and obstruction by the Defendants in response to Plaintiff's exercise of his First Amendment
rights as a journalist. Plaintiff, a military-trained journalist, disabled combat veteran, and staunch
advocate for freedom of the press, seeks declaratory, injunctive, and other appropriate relief to
address violations of his constitutional rights and to remedy the harm caused by Defendants’

unlawful actions.
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This action seeks redress for violations of Plaintiff's rights under the United States Constitution
and Mississippi law. Plaintiff seeks compensatory damages for emotional distress, reputational
harm, economic loss, and other injuries; punitive damages for the willful and malicious conduct
of individual Defendants; and injunctive and declaratory relief to prevent future retaliation.
Plaintiff further seeks all other relief to which he may be entitled under law.

Plaintiff alleges violations of the First, Fourth, and Fourteenth Amendments, the Mississippi
Public Records Act, and state laws governing defamation and intentional distress. These claims
arise from a coordinated and deliberate campaign of retaliation by Defendants, acting under color
of law, designed to punish Plaintiff for his constitutionally protected activities as a journalist.

Defendants’ actions include defamatory statements, obstruction of public records access, and
interference with Plaintiff's professional relationships. These acts not only caused significant
harm to Plaintiff’s reputation, career, and emotional well-being but also undermined public trust
in government accountability and transparency.

Plaintiff seeks declaratory relief affirming that Defendants’ actions violated his constitutional and
statutory rights, injunctive relief to prevent further retaliation, compensatory and punitive
damages to address the harm caused, and other equitable relief as deemed appropriate by this
Court.

Defendants’ retaliatory conduct violated clearly established rights under the First and Fourteenth
Amendments, as articulated in Hartman v. Moore, 547 U.S. 250 (2006) and Hope v. Pelzer, 536
U.S. 730 (2002). These decisions leave no doubt that public officials who intentionally target
individuals for exercising their First Amendment rights are not entitled to qualified immunity.
The Defendants’ actions—fabricated allegations, public defamation, and interference with
Plaintiff's employment—exceeded any lawful discretion and were motivated by personal animus.
No reasonable official in their position could believe such conduct was lawful.

The First and Fourteenth Amendments unequivocally protect journalists from retaliation by
public officials for engaging in lawful reporting, and Mississippi law further protects the public’s
right to access government records.

This case highlights not only the unconstitutional retaliation against Plaintiff but also a broader
culture of misconduct and overreach within Ocean Springs governance.

By holding Defendants accountable, this action seeks to protect not only Plaintiff's rights but also
to safeguard the rights of all residents of Ocean Springs and journalists from being subjected to
similar unconstitutional conduct. This lawsuit serves as a critical step toward preserving the
foundational principles of free speech, press freedom, and government accountability, which are
vital to ensuring a transparent and democratic society.

Plaintiff emailed preservation notices on December 10, 2024 and subsequently mailed a letter of
intent to sue via US Postal Service on or around December 12, 2024 to the City of Ocean Springs,
which outlined the basis for forthcoming legal claims under the Mississippi Tort Claims Act.
Plaintiff also provided additional written notice in the form of a detailed settlement offer — that
was requested by the City Attorney — dated April 25, 2025. Out of an abundance of caution and to
eliminate any dispute over notice or content, Plaintiff is contemporaneously sending a
supplemental notice by certified mail. The combination of these communications constitutes
substantial compliance with Miss. Code Ann. § 11-46-11.
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11. Plaintiff is in possession of documentary evidence, including screenshots, recordings, and written

Parties
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communications, which further substantiate the facts alleged herein and will be produced as
needed at the appropriate stage of this litigation. Plaintiff will present this compelling and
corroborated evidence during discovery and at trial to substantiate each claim and ensure a
complete and persuasive record for the Court.

Plaintiff Eric Brian Rosenberg, known professionally as E. Brian Rose, is a journalist and
disabled combat veteran with decades of experience reporting on matters of public concern.
Trained by the military in combat journalism, his reporting consistently addresses issues of
significant public interest, including governance, policy, and community affairs.

Plaintiff is a 100% disabled combat veteran diagnosed with several ailments, including sleep
disorders, PTSD, vertigo, Mefloquine toxicity poisoning, and others related to his combat
deployments.

Beyond his journalistic work, Plaintiff has authored children’s books on the Bill of Rights, aimed
at educating young readers about the foundational principles of American democracy. This work
reflects Plaintiff's lifelong commitment to promoting transparency, accountability, and the
protection of constitutional freedoms. Despite this dedication to ethical journalism and public
education, Plaintiff has faced an unprecedented campaign of retaliation and obstruction by the
City of Ocean Springs and its officials.

Defendant City of Ocean Springs is a municipal government organized under the laws of
Mississippi.

Defendant Mayor Kenny Holloway is the Mayor of Ocean Springs and possesses final
policymaking authority in matters of administration, public communications, and enforcement of
city policies. As detailed in this Complaint, Mayor Holloway used his authority to engage in
retaliatory conduct, including repeated attempts to interfere with Plaintiff's professional
relationships by contacting Plaintiff's employer. These actions reflect the City’s de facto policy of
silencing dissent and demonstrate Holloway’s direct involvement in violating Plaintiff's
constitutional rights. Mayor Holloway is sued in both his official and individual capacities.

Defendant Alderman Jennifer Burgess represents Ward | in Ocean Springs as an elected
member of the Board of Aldermen, which exercises legislative and policymaking authority for the
city. Burgess engaged in a series of retaliatory actions against Plaintiff, including public
defamation, private efforts to disparage Plaintiff to his employer, and a pattern of behavior
designed to provoke and discredit Plaintiff. Her actions, as detailed herein, illustrate the City’s
broader effort to suppress critical reporting and intimidate journalists. Burgess is sued in both her
official and individual capacities.

Defendant Mike Impey is and was, at all times relevant, the duly elected Ward 6 Alderman in
Ocean Springs. He is sued in his official capacity for actions taken under color of law, and in his
individual capacity for conduct undertaken with malice and outside the scope of legitimate
legislative function.
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9. Defendant City Clerk Patty Gaston is the City Clerk of Ocean Springs, tasked with maintaining
public records and ensuring compliance with the Mississippi Public Records Act. Despite this
responsibility, Gaston actively obstructed Plaintiff's lawful requests for public records, imposed
unreasonable barriers to access, and engaged in defamatory and retaliatory conduct. Her actions,
including derogatory communications to Plaintiff's employer and inflammatory public
statements, were part of a coordinated campaign to discredit and punish Plaintiff for exercising
his First Amendment rights. Gaston is sued in both her official and individual capacities.

10. Defendant former Chief of Police Ryan Lemaire made false and defamatory statements during
the December 17, 2024, Board of Aldermen meeting, publicly accusing Plaintiff of spreading
"100% lies" regarding the city’s purchase of an Al-powered vehicle tracking system. These
statements were made while he was the Chief of Police. These statements were knowingly false,
as city records confirm Plaintiff's reporting was accurate. Lemaire’s statements caused significant
harm to Plaintiff's professional reputation and were part of a broader effort by city officials to
discredit Plaintiff's reporting. He is sued in both his official and individual capacities.

11. Defendant Robert Wilkinson was, at all relevant times, the City Attorney for Ocean Springs. He
is sued in his official and individual capacities.

12. Defendant Ken Papania is an Alderman who, acting under color of law during a public board
meeting, attempted to silence Plaintiff during lawful public comment. He is sued in his official
and individual capacities.

13. Defendant Kenny Williams is a member of the Ocean Springs Redevelopment Authority
(RDA), an appointed public body. His retaliatory and defamatory conduct is connected to his
official role and public communications. He is sued in his official and individual capacities.

14. Defendant Bonnie Munro is the President of the Historic Preservation Commission of Ocean
Springs, an appointed public office. She engaged in defamatory and retaliatory public attacks on
Plaintiff's character. She is sued in her official and individual capacities.

15. John/Jane Does 1-10 are currently unidentified individuals who participated in or facilitated the
retaliatory conduct and violations of Plaintiffs rights. These individuals include, but are not
limited to, city officials or employees who conspired to spread false narratives, obstruct public
records access, or engage in other retaliatory acts under the color of law. Plaintiff reserves the
right to amend this Complaint to include their names and further allegations as their identities are
revealed during discovery.

Jurisdiction and Venue

9. This Court has jurisdiction over this action under 28 U.S.C. § 1331, as Plaintiff asserts claims
arising under the United States Constitution and 42 U.S.C. § 1983, including violations of his
First, Fourth, and Fourteenth Amendment rights. This Court also has jurisdiction under 28 U.S.C.
§ 1343(a)(3), as this action seeks to redress the deprivation of rights secured by the Constitution
by individuals acting under color of state law.

10. The Court has supplemental jurisdiction under 28 U.S.C. § 1367(a) to hear Plaintiff's related
state-law claims, including violations of the Mississippi Public Records Act, because these claims
arise from the same nucleus of operative facts as Plaintiff's federal claims. Specifically, the
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retaliatory withholding of public records by City Clerk Patty Gaston and other city officials
directly followed Plaintiffs reporting on matters of public concern, which is central to the First
Amendment retaliation claims.

The federal claims predominate in this action as they concern the Defendants’ violations of
clearly established First, Fourth, and Fourteenth Amendment rights, which are the principal basis
for the requested declaratory and injunctive relief. The state-law claims supplement the federal
claims by addressing additional harm caused by the same retaliatory conduct.

Venue is proper in this district under 28 U.S.C. § 1391(b)(2) because a substantia! part of the
events or omissions giving rise to the claims occurred in Ocean Springs, Mississippi, where
Plaintiff resides and carries out his journalistic activities. Specifically, the retaliatory actions
alleged herein, including defamatory statements, interference with Plaintiff's professional
relationships, and obstruction of public records access, all occurred within the jurisdiction of this
Court during public meetings, in communications originating from city officials, and in response
to articles published about Ocean Springs’ governance.

Professional Background and Scope of Reporting

13.

The Plaintiff has a long history in journalism, covering governmental affairs over a span of
decades. He was trained by the military as a combat journalist and is currently a 100% disabled
veteran with disabilities stemming from his combat deployments. Over the last year, Plaintiff
began focusing exclusively on local government accountability and transparency across multiple
jurisdictions throughout the Mississippi Gulf Coast. Through published articles, the Plaintiff has
reported on controversial issues in cities such as Gulfport, Biloxi, and others, addressing topics
including ethics violations, zoning disputes, government overreach, and public accountability.
Despite addressing sensitive and potentially contentious issues, no jurisdiction, except Ocean
Springs, has retaliated against the Plaintiff for his reporting.

Factual Background

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The following allegations describe selected examples of retaliation, defamation, and misconduct
perpetrated by the Defendants. These are not exhaustive. For the sake of clarity and conciseness,
Plaintiff has intentionally limited this Complaint to a representative sample of well-documented
incidents. Plaintiff is in possession of additional evidence of retaliatory conduct that has not been
included here solely to preserve judicial efficiency and narrative focus. Plaintiff reserves the right
to amend this Complaint and to present further facts as they become relevant during discovery,
through whistleblowers, public records, or continued investigation. Each example described
herein supports Plaintiff's broader Monell claim and illustrates a persistent municipal pattern of
unconstitutional conduct.

The Importance of Press Freedom and News Gathering
The First Amendment to the United States Constitution reflects a “profound national commitment

to the principle that debate on public issues should be uninhibited, robust, and wide-open.” N.Y.
Times Co. v. Sullivan, 376 U.S. 254, 270 (1964).
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16.

The right to gather and report on news is a foundational component of this commitment. As the
Supreme Court has recognized, the First Amendment protects “a right to gather information,”
because “without some protection for seeking the news, freedom of the press could be
eviscerated.” Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 576 (1980) (citing Branzburg
v. Hayes, 408 U.S. 665, 681 (1972)).

The Sixth Circuit has similarly observed that “[t]he protected right to publish the news would be
of little value in the absence of sources from which to obtain it.” CBS, Inc. v. Young, 522 F.2d
234, 238 (6th Cir. 1975). Thus, “[nJews gathering . . . qualifies for First Amendment protections.”
Id.

The Mississippi Constitution further underscores this principle by explicitly safeguarding
freedom of speech and of the press. Article 3, Section 13 of the Mississippi Constitution states:
“The freedom of speech and of the press shall be held sacred; and in all prosecutions for libel the
truth may be given in evidence, and the jury shall determine the law and the facts under the
direction of the court.” This provision reflects the state’s deep commitment to ensuring an
informed public and a free press as integral components of its democratic framework.

Mississippi courts have consistently affirmed these constitutional protections. For example, in
Associated Press v. Bost, the Mississippi Supreme Court highlighted the essential role of the
press in fostering transparency and accountability, recognizing that “freedom of the press and
speech are fundamental rights.” The court further noted that these rights are indispensable to an
open society, safeguarding the public's ability to scrutinize government actions and engage in
informed debate.

Taken together, these provisions and judicial interpretations establish a robust framework of legal
protections for journalists and news organizations in Mississippi. They affirm that the press
serves a critical public interest by providing access to information and fostering civic engagement
— principles that are foundational to both the Mississippi Constitution and the First
Amendment of the United States Constitution.

Plaintiff E. Brian Rose, a journalist with decades of experience — including as a combat
journalist in the U.S. military and a reporter for multiple news outlets — has consistently worked
to fulfill the First Amendment’s promise of a free press by reporting on matters of significant
public concern.

Despite this constitutional protection, the City of Ocean Springs and its officials, including but
not limited to Mayor Kenny Holloway, Alderman Jennifer Burgess, City Clerk Patty Gaston,
Alderman Mike Impey, Alderman Ken Papania, City Attorney Robert Wilkinson, RDA Member
Kenny Williams, Historical Preservation Commission President Bonnie Munro, and others have
engaged in a pattern of retaliatory and defamatory conduct aimed at silencing Plaintiff's reporting
and chilling his exercise of constitutionally protected activities.

While not named as a defendant in this action, former Community Development Director Carter
Thompson’s actions and statements are included solely to demonstrate a broader pattern of
retaliatory behavior and coordination among City of Ocean Springs officials. These events form
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part of Plaintiff's Monell claim, establishing the city's tolerance for unconstitutional conduct
across departments.

The United States Supreme Court has consistently held that government officials may not
retaliate against individuals for exercising their First Amendment rights. In Hartman v. Moore,
547 U.S. 250 (2006), the Court established that retaliatory actions by public officials must meet a
causation standard, showing that the retaliatory animus was the but-for cause of the alleged harm.
Defendants’ actions here fail to meet this standard and instead demonstrate direct retaliation
against the Plaintiff for his protected activities.

Additionally, N.Y. Times Co. v. Sullivan, 376 U.S. 254 (1964) emphasized the importance of
protecting the press from governmental overreach to ensure robust public discourse and
accountability. The City of Ocean Springs’ campaign of retaliation directly undermines these
principles.

In Hope v. Pelzer, 536 U.S. 730 (2002), the Supreme Court stated that officials are not entitled to
qualified immunity when their conduct violates rights that are clearly established in the law. The
actions of the Defendants, including obstructing public records access, defamation, and retaliation
against protected speech, are violations of clearly established constitutional rights and cannot be
shielded by qualified immunity.

Initial Articles

On or around September 4, 2024, Plaintiff published an article in the Ocean Springs Weekly

Record titled “Mayor’s Call to ‘Step Back’ from Online Criticism Sparks Local Debate.” This
article factually summarized Mayor Kenny Holloway’s op-ed urging residents to cease online
criticism of the city and included reactions from residents, some supportive and others critical.

On or around September 12, 2024, Plaintiff published an article titled “Local Residents Push
Back on ‘Hasty’ Zoning Changes,” documenting the city’s failure to meet public notification
requirements for a Planning Commission hearing.

The article included quotes from residents, the city clerk’s official admission of the notification
failure, and factual information about newly hired Community Development Director Carter
Thompson’s professional history.

City Clerk Patty Gaston’s Response to Initial Articles
Immediately following the publication of the September 12 article, retaliation began.

On or about September 12, 2024, following Plaintiff's publication of an article documenting the
City’s failure to meet public notification requirements, City Clerk Patty Gaston initiated a
campaign of retaliation against Plaintiff. Gaston sent a series of text messages to Plaintiff's
employer, Leigh Coleman, referring to Plaintiff as "a piece of shit" and falsely accusing him of
writing misleading articles. Gaston further threatened to share damaging personal information
about Plaintiff, stating in one text, she was preparing to post something on Facebook that will
really embarrass the Plaintiff. Gaston asked that Coleman retract or remove the articles, but failed
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to provide any details for what was false or misleading. These actions were designed to intimidate
Plaintiff and discredit his reporting, directly harming his professional reputation.

In another message sent to Plaintiff's employer shortly before the publication of a critical article,
Defendant Gaston texted Plaintiff's employer, stating, “I just received some texts about him. I do
have some funny interesting stuff to tell you...” This message shows she was receiving and
offering to share derogatory content about Plaintiff with third parties, evidencing her continued
intent to damage his reputation and retaliate for his journalism. Gaston’s language further
demonstrates her personal hostility and misuse of her position to interfere with Plaintiff's
professional standing.

Gaston demanded retractions of factual articles and attempted to discredit the Plaintiff’s reporting
by falsely alleging that his work was being influenced by a political organization with which he
had no affiliation. Gaston also took her campaign to social media, posting on The Record's
official Facebook page to publicly accuse the Plaintiff of being unprofessional and misleading the
public. In one comment, she stated she was "sick of his attitude," while in another, she refused to
answer legitimate questions about public issues, opting instead to make dismissive and
inflammatory remarks.

These texts, online comments, as well as similarly worded phone calls to Plaintiffs boss, were
clear attempts to retaliate against the Plaintiff for his critical reporting on the city’s failure to
properly notify the public about zoning changes, an issue Gaston herself had admitted to in an |
email to a resident.

These actions, taken by or in coordination with public officials and employees, were part of an
ongoing pattern of retaliation that supports Plaintiff's Monell claim under 42 U.S.C. § 1983.

Further Retaliatory Messages from Gaston

In or around September 2024, and just before Defendant Patty Gaston publicly posted comments
on Facebook about the Plaintiff, she sent a text message to Plaintiff’s employer stating, “Next
comment from me will insult him. I have had enough of his attitude.” This message, which
followed Plaintiff's lawful reporting on city governance, was sent with the intent to escalate a
public campaign of defamation and to provoke employment consequences for Plaintiff. It
demonstrates both her retaliatory motive and her willingness to weaponize her position against
protected speech. The message also supports Plaintiff's Monell claim by providing additional
proof of a citywide tolerance for unlawful retaliation against journalists.

Plaintiff's First Piea for Help

In response to City Clerk Patty Gaston's retaliatory actions and going after his job, the Plaintiff
wrote a formal letter to the members of the Ocean Springs Board of Aldermen, seeking their
intervention.

In the letter, The Plaintiff detailed Gaston’s derogatory text messages, her attempts to discredit
his journalism, and her threats to reveal personal information to undermine his reputation to his
boss. He emphasized the constitutional implications of Gaston’s conduct, framing it as a direct
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violation of his First Amendment rights and a clear example of government retaliation against a
journalist. The Plaintiff called on the Board to investigate Gaston’s behavior thoroughly and take
appropriate disciplinary action, up to and including termination if warranted. He urged the Board
to uphold their oath to the Constitution and ensure that government accountability and
transparency were not stifled by such unprofessional and unlawful conduct.

The letter underscored the importance of protecting freedom of the press and ensuring that
retaliation against journalists has no place in public governance.

Alderman Burgess Phone Call

In response to his letter to the Board of Aldermen, Plaintiff received a phone call from Alderman
Jennifer Burgess. Instead of offering support or addressing his concerns about City Clerk Patty
Gaston's retaliatory behavior, Burgess chastised the Plaintiff for his reporting, stating that just
because he had the right to report certain things, it didn’t mean he should.

Burgess criticized Plaintiff's articles, particularly his decision to let the public know the newly
hired Community Development Director Carter Thompson was fired from the last two cities she
worked for, with each of those cities citing bad behavior when dealing with coworkers and the
public, and that both firings resulting in local media frenzies in those towns. Burgess told Plaintiff
that it was “unfortunate” the First Amendment allows him to write some things.

Burgess also referred to the article recapping the mayor’s controversial editorial that instructed
residents to “step back from the keyboard.” She called the factual and balanced article an “attack”
and stated, “An attack on the mayor is an attack on all of us,” revealing a potential team bias
against journalistic oversight of the local government. This statement was made in response to
Plaintiff pointing out that he had not written any articles directly about any members of the Board
of Aldermen.

Burgess further implied that Plaintiff should allow the city to review his articles before
publication as a “courtesy” — an alarming suggestion given his role as an independent journalist.

Perhaps most troubling was that immediately after the call, Burgess did exactly what Plaintiff was
originally seeking her help to protect him against — she tried to get him fired for his factual
reporting. Within minutes of hanging up with Plaintiff, Burgess contacted Plaintiff's boss to
disparage him, describing him to the boss as “bad news” and telling the owner that further
scrutiny would reveal more negative information about the Plaintiff.

Plaintiff's Public Comments at the Board of Aldermen Meeting

During the September 17, 2024, Board of Aldermen meeting, Plaintiff made public comments
emphasizing his identity as a disabled veteran, trained combat journalist, and advocate for the Bill
of Rights. Plaintiff addressed the issues of government transparency and freedom of speech,
citing specific examples of the City of Ocean Springs’ failure to comply with public notification
requirements and subsequent retaliatory actions taken against him. Plaintiff explicitly requested
that the Board uphold their constitutional oaths to ensure transparency and protect free speech in
the city.
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23.

Plaintiff's comments were measured, factual, and in accordance with his First Amendment rights.
Despite this, Alderman Jennifer Burgess immediately followed these comments with public
defamatory statements designed to discredit Plaintiff and suppress his journalistic activities.

Public Defamation by Alderman Burgess

Immediately following Plaintiff's public comments — which underscored his identity as a
disabled veteran and his commitment to journalistic accountability — Alderman Jennifer Burgess
requested three minutes for a rebuttal. During her comments, Burgess made a series of
defamatory statements, including the false claim that Plaintiff had demanded the termination of
City Clerk Patty Gaston. She also mischaracterized a prior phone call with Plaintiff, describing it
as "unhinged" and claiming she had been "genuinely frightened" and had tried to “talk him off a
ledge.” Additionally, Burgess falsely asserted that Plaintiff's accusations against Gaston were
baseless and that Gaston had not attacked him on social media or threatened him — statements
directly contradicted by documented evidence. These comments were intended to publicly
discredit Plaintiff and further the city’s campaign of retaliation against his journalistic efforts.

In response, Plaintiff briefly interjected to correct inaccuracies, clarifying that he had not
demanded Gaston’s termination and calling attention to the escalating falsehoods. After she
persisted in mischaracterizing their phone call and accused him of threatening behavior, Plaintiff
calmly asked, “Is this the hill you want to die on?” — a rhetorical question expressing his
disbelief at the escalating falsehoods. When Burgess claimed she was “genuinely frightened”
during the phone call, Plaintiff noted that the call had been recorded and offered to publish it to
correct her misrepresentations. These responses were measured and necessary to counter the
baseless accusations made in a public forum. However, before Plaintiff could fully defend
himself, Mayor Kenny Holloway abruptly interrupted, declaring, “This conversation is over,” and
threatened to have Plaintiff removed if he continued speaking. This shutdown exemplifies the
administration’s broader efforts to suppress Plaintiff's voice and shield false and defamatory
statements from scrutiny.

The recording of the phone call between Plaintiff and Burgess, which Plaintiff lawfully published
to defend himself, unequivocally demonstrates that her characterizations were false. Plaintiff
remained calm and professional throughout the call, focusing on raising legitimate concerns, and
made no statements that could reasonably be perceived as threatening. Burgess’s claim that she
was “genuinely frightened” was a fabrication, as was her accusation that Plaintiff had demanded
Gaston’s termination.

These misrepresentations by Burgess were intended to damage Plaintiff's credibility and
reputation while deflecting attention from the city’s misconduct. Compounding the harm, the
video of the Board of Aldermen meeting, including Burgess’s defamatory statements, is now part
of the permanent public record and available for anyone to view on the city’s YouTube channel,
further amplifying the harm caused by her actions.

Burgess’s defamatory statements were made with the clear intent to retaliate against Plaintiff for
exercising his First Amendment rights and to discredit his public comments as a disabled veteran
advocating for transparency and free speech. Her remarks were not spontaneous but premeditated,
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as evidenced by her subsequent text messages boasting that her comments succeeded in
provoking Plaintiff. This calculated conduct demonstrates malice and a deliberate effort to
suppress protected speech.

Defendant Burgess has repeatedly used her official Facebook page and other public platforms to
accuse Plaintiff of unethical and dishonest behavior. In various comment threads, she has
described Plaintiff's journalism as “vendetta-based,” accused him of targeting “very ill” women,
and referred to him as a “self-professed con man” devoid of integrity. She has also suggested that
Plaintiff fabricates narratives, and spends an “irrational amount of time” attacking women. These
statements are false, malicious, and part of a sustained campaign of retaliation following
Plaintiff's published articles exposing misconduct within city government.

In addition, Burgess has made repeated defamatory accusations about the SaveOS organization,
with which she claims Plaintiff is affiliated, asserting that it violates federal nonprofit law and
that it has engaged in fraudulent or deceptive activity. These accusations have been made publicly
and without evidence, often accompanied by personal attacks on Plaintiff as the “hack writer”
behind SaveOS communications. In one exchange, Burgess went so far as to suggest that SaveOS
had intentionally frightened elderly residents and cost the city hundreds of thousands of dollars.
These accusations have no basis in fact and were designed to damage Plaintiff's reputation and
chill his reporting activity by associating him with an organization she erroneously described as
criminal.

Burgess made several defamatory statements about Plaintiff during a Board of Alderman
meeting. However, these statements were excluded from the official minutes of the meeting,
despite all other aldermen’s remarks being recorded. The video recording of the meeting,
available on the City’s YouTube channel, clearly shows her statements. The omission from the
certified minutes, signed by the mayor and city clerk, constitutes a falsification of public
records and reflects a deliberate attempt to erase evidence of retaliatory and defamatory conduct.

These actions, taken by or in coordination with public officials and employees, were part of an
ongoing pattern of retaliation that supports Plaintiff's Monell claim under 42 U.S.C. § 1983.

Burgess’s Admission of Retaliatory Intent and Malice

In a text message exchange with City Clerk Patty Gaston acquired via a public records request,
Alderman Jennifer Burgess revealed her premeditated intentions behind her defamatory public
response to Plaintiff at the September 17, 2024, Board of Aldermen meeting.

Just after that public meeting Burgess texted to Gaston, “I knew he was going to come after me,
and | spoke to him under the assumption I was being recorded (even though he told me he wasn't
recording).”

Burgess attempted to portray the Plaintiff as a liar by falsely claiming that Plaintiff had assured
her during their phone call that the call was not being recorded — a statement directly disproven

by the recording itself, which Plaintiff later published to refute her mischaracterizations.

Burgess went on to text, “I asked for my 3 minutes so I could get him to show his true colors,
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25.

and I succeeded. I’m good!”

This statement demonstrates Burgess’s deliberate motive to provoke and publicly discredit
Plaintiff, rather than address his concerns about transparency and retaliatory behavior by city
officials.

Burgess wrote, “He messed up because he threatened me... multiple times.”

This assertion is demonstrably false and is easily disproven by the publicly available video of the
meeting on the city's YouTube channel, which shows no evidence of threatening behavior by
Plaintiff.

Gaston responded, “I think maybe wher he said he didn't ask you all to fire me that was a
screw up too.” Burgess replied, “Yes, because we have the letter to prove it. I genuinely hope
he recorded me because if it comes to it, I will challenge him to prove it and release the
recording. It won't come to that.”

Burgess also stated, “He's still going to try and shine us in a negative light... watch.”

This exchange demonstrates Burgess’s intent to provoke Plaintiff, fabricate accusations, and
manipulate evidence to deflect accountability. Burgess’s admission that she intended to 'get him
to show his true colors' underscores her retaliatory motive, while her willingness to lie about the
existence of threats reveals bad faith and malice. Furthermore, Gaston’s complicity in endorsing
and encouraging this behavior reflects a broader culture of retaliation within the city’s leadership.

Plaintiff published the phone call the following day, proving Burgess mischaracterized the
content of the call during the public forum.

These actions, taken by or in coordination with public officials and employees, were part of an
ongoing pattern of retaliation that supports Plaintiff's Monell claim under 42 U.S.C. § 1983.

Alderman Burgess’s Escalation at a Subsequent Public Meeting

Following the September 17, 2024, Board of Aldermen meeting, Plaintiff encountered Burgess at
a public zoning meeting held at the Civic Center. During this event, Plaintiff, in his capacity as a
journalist, interviewed various residents and officials. When Plaintiff approached Burgess to ask
for permission to ask a question, she replied dismissively, “I don’t think so.” Plaintiff then
clarified that he simply wanted to pose a question, which she could decide whether to answer, to
which Burgess responded, “I have no interest in what you’re writing.”

Shortly after this interaction, Burgess sent a text message to Plaintiff's employer, Leigh Coleman,
stating:

“I will never respond to any requests for quotes from you or Eric Rosenberg. Any and all
questions are to be sent to Ravin as you and he have been advised many times already. I also
wanted it noted that I want Eric Rosenberg NO WHERE NEAR ME PHYSICALLY. My
personal well being is more important to me, my husband and my son than any embarrassingly
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biased hit piece he may be working on.”

This inflammatory and baseless message further underscores the retaliatory and defamatory
nature of Burgess’s conduct. Burgess represents the legislative branch of government. By
instructing that all inquiries for her be routed through an official in the executive branch of
government, Burgess deliberately obstructed Plaintiff's ability to perform his role as a journalist.
Furthermore, her suggestion that Plaintiff posed a physical threat to her and her family is not only
false but also consistent with her broader pattern of fabricating claims to discredit Plaintiff's
credibility and professional reputation with his employer.

On December 5, 2024, Plaintiff sent an email to Defendant Burgess outlining numerous
demonstrably false statements she had made during a public meeting and in text messages
obtained through a public records request. Plaintiff's email detailed how these statements
mischaracterized his actions, misrepresented his interactions with city officials, and harmed his
professional reputation. Plaintiff requested a public correction and an explanation for these
inaccuracies. Defendant Burgess failed to respond, allowing the false statements to remain
uncorrected and publicly accessible.

On or around March 15, 2025, Defendant Burgess posted a public comment on Mayor
Holloway’s Facebook page under her official name and title, stating: “I only fought back when he
started getting my people upset because of his vendetta based ‘journalism’... 1 don’t dignify
anything he writes.” This admission, made in her official capacity, demonstrates retaliatory
motive directly tied to the Plaintiff's protected speech and further supports Plaintiff's Monell
claim and defamation claim.

Directive Not to Communicate with Plaintiff

During the phone call with Plaintiff in response to his plea for help from the Board of Alderman,
Alderman Jennifer Burgess admitted that she had been advised by city officials not to speak with
Plaintiff after he asked for help in a letter. Burgess stated, "I was advised not to speak to you. |
was absolutely advised not to speak to you, and I went against that advice."

This statement demonstrates a coordinated effort by city officials to isolate Plaintiff and prevent
him from engaging with members of the city government, even when asking for their assistance
in constitutional retaliation issues he is suffering from. Such directives further reflect a de facto
policy of suppressing Plaintiffs First Amendment rights and retaliating against his journalistic
activities.

Retaliation via Cutoff of Communication Following Article

On or around January 26, 2025, Plaintiff published an article that quoted city officials accurately
and in context. In response, City Clerk Patty Gaston posted a public Facebook comment under the
article stating that, because of the publication, she would no longer respond to Plaintiff's
questions. Gaston wrote: “From now on don’t ask me any more questions as I will not respond to
you any further.” She criticized Plaintiff's reporting as having a “negative spin” and blamed him
and others for “running off employees” and making it harder for the City to “retain or hire” staff.
Gaston’s statement was not a personal opinion in a private setting — it was a public declaration,
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made in her official capacity, that she would no longer provide information to a journalist based
on his viewpoint.

Within days of that post, Plaintiff discovered that he had been removed from the City's media
notification list. He was reinstated only after submitting a formal request to Deputy City Clerk
Vicky Hupe-in February 2025. In that request, Plaintiff asked for a specific explanation for his
removal, writing: “Understanding the reason for my removal is important to ensure that this does
not happen again.” The City never responded.

Although Gaston later resumed responding to some media inquiries, her responses to Plaintiff
remained spotty, selective, and inconsistent. On multiple occasions, she ignored questions
entirely or referred Plaintiff to other individuals — including staff who had yet to take office:
The pattern of delayed or denied responses reflected an ongoing effort to obstruct Plaintiff's
reporting and deny him equal access to public information.

Mayor Kenny Holloway “Disappointed” Plaintiff was Not Fired

Mayor Kenny Holloway played a significant role in the campaign of retaliation against Plaintiff.
After Plaintiff published factual articles critical of city practices, Mayor Holloway sent a text
message to Plaintiff's employer, Leigh Coleman, suggesting Plaintiff "got the story wrong."
Again, he contacted Plaintiff's boss after Plaintiff published the article about the city
notifications, telling Coleman that Plaintiff “needs to get both sides of the story” before writing
“editorials” — despite Plaintiff having attended the meetings and reported both sides objectively.

Mayor Holloway later escalated his actions by making multiple calls to Leigh, including one
where he referenced a Facebook post containing disparaging claims about Plaintiff. Instead of
condemning the post or addressing its inaccuracy, Mayor Holloway used it as a pretext to further
question Plaintiff's integrity, contributing to the pattern of retaliatory behavior by city officials.

The next day, following a public meeting that Plaintiff attended in his capacity as a journalist,
Mayor Holloway called Plaintiff's employer again to express his “surprise and disappointment”
that Plaintiff was still on staff. These actions demonstrate a clear attempt by Mayor Holloway to
undermine Plaintiff's professional standing, intimidate him into ceasing his critical reporting, and
pressure his employer into terminating his employment.

Holloway sent several messages to Plaintiff's former employer calling his work “yellow —
journalism,” and recommending he be terminated. On or around December 26, 2024, his assistant
sent an email to Plaintiff's employer titled, “Status of E. Brian Rose at the Ocean Springs Weekly
Record,” and included: “Is E. Brian Rose still on staff at the Ocean Springs Weekly Record?”
Holloway was CC’d in the email.

These actions, taken by or in coordination with public officials and employees, were part of an
ongoing pattern of retaliation that supports Plaintiff's Monell claim under 42 U.S.C. § 1983.

Mayor Holloway’s Public Attack on Plaintiff's Journalism

On March 15, 2025, Mayor Kenny Holloway published a public statement on his official “Mayor
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Kenny Holloway” Facebook page attacking Plaintiff and his publication GC Wire. In the post,
Holloway falsely claimed that Plaintiff and the community group SaveOS had “repeatedly
misrepresented facts, twisted narratives, and used bad-faith tactics to undermine fair discussion.”
He further stated that their involvement had turned a nonpartisan candidate forum into a “staged
ambush designed to mislead voters.”

This statement was made in response to a community-wide candidate forum hosted by the Ocean
Springs Weekly Record in partnership with the Lions Club and Chamber of Commerce. Plaintiff
was one of many community members invited to participate in a limited ceremonial capacity.
Specifically, Plaintiff was asked to lead the audience in the Pledge of Allegiance and to introduce
the forum’s moderator, a former television news host.

Despite Plaintiff's minimal role, Holloway used the event as a pretext to publicly discredit GC
Wire and retaliate against Plaintiff's prior reporting. By accusing Plaintiff of undermining
democratic discourse and participating in a “staged ambush,” Holloway made false statements
that were calculated to damage Plaintiff's professional standing. These remarks were published
under the mayor’s official title and followed a broader pattern of retaliation by city officials.

These actions, taken by or in coordination with public officials and employees, were part of an
ongoing pattern of retaliation that supports Plaintiff's Monell claim under 42 U.S.C. § 1983.

Alderman Impey’s Public Accusation and False Attribution of Bias

On March 15, 2025, Alderman Mike Impey published a statement on his official Facebook
account falsely accusing Plaintiff of turning a nonpartisan candidate forum into an anti-incumbent
event. Impey wrote that the event, originally hosted by the Ocean Springs Weekly Record in
partnership with the Lions Club and Chamber of Commerce, had “turned into an event run by the
SaveOS organization and E. Brian Rose.” He further claimed that both “have shown a bias
against most of those currently serving in office” and suggested that Plaintiff was responsible for
organizing a “staged ambush.”

In reality, Plaintiff was not involved in organizing the event. His role was limited to a community
think tank for question submissions, ceremonial introduction, and recitation of the Pledge of
Allegiance. At no point did Plaintiff have editorial control over the content, structure, or
sponsorship of the forum. Impey’s statements were false, defamatory, and made with reckless
disregard for the truth.

By publishing this post while holding elected office, Impey used the authority and visibility of his
public position to further retaliate against Plaintiff for constitutionally protected journalistic
activity. His comments aligned with a broader narrative being promoted by city officials that day,
including Mayor Holloway and others, forming part of a coordinated retaliatory effort.

These actions, taken by or in coordination with public officials and employees, were part of an
ongoing pattern of retaliation that supports Plaintiff's Monell claim under 42 U.S.C. § 1983.

Unconstitutional Suppression of Plaintiff's Public Comment by Alderman Ken Papania
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On May 20, 2025, during the public comment portion of a regular Ocean Springs Board of
Aldermen meeting, Plaintiff sought to speak in response to comments made moments earlier by
former Police Chief Mark Dunston. Dunston had addressed the Board directly and made
statements concerning Plaintiff's journalism and reporting on the city’s contract with the
controversial traffic enforcement company, Securix.

Plaintiff, a journalist and resident, began his comments by quoting directly from an email
exchange with former Chief Mark Dunston, who had acknowledged that while serving in an
official capacity, he contracted with Securix to promote their program to other municipalities.
Plaintiff had previously reported on this conflict of interest.

As Plaintiff began reading from this publicly sourced material, Alderman Ken Papania repeatedly
interrupted, stating, “Don’t come up here and slander another man.” Despite Plaintiff calmly
explaining that he was reading from official correspondence and that the topic directly involved
city contracts, Papania declared, “This is not city business,” and said, “You’re not getting your
time back.”

Papania’s effort to silence Plaintiff while applauding or permitting others to speak on the same
topic clearly demonstrated content- and viewpoint-based discrimination. This incident occurred
during a designated public forum and was executed under color of law in violation of Plaintiff's
constitutional rights.

These actions, taken by or in coordination with public officials and employees, were part of an
ongoing pattern of retaliation that supports Plaintiff's Monell claim under 42 U.S.C. § 1983.

Defamatory Public Statements By City-Appointed Officials

In early June 2025, shortly after Plaintiff published a warning on social media about unmarked
audio surveillance at City Hall, several individuals closely tied to Ocean Springs government
responded with coordinated public attacks. Bonnie Munro, President of the Historic Preservation
Commission, and Kenny Williams, a member of the Ocean Springs Redevelopment Authority
(RDA), posted and endorsed defamatory statements targeting Plaintiff in a Facebook thread on
Mike Davis’s public post.

In that thread, Munro publicly claimed Plaintiff is “extremely insecure,” has a “temper,” and
“doesn’t have the confidence to withstand too much integration beyond a gentle ego stroke.” She
further stated that Plaintiff “will now be biting the hand that feeds him” and encouraged readers
to “get your popcorn,” indicating a desire to witness Plaintiff's public humiliation. Williams
replied in agreement, calling Plaintiff a “doofus” and stating, “He is also a tool. Sorry...”

Elsewhere in the thread, Williams wrote: “They lie. Joe, Ellen, Julia, EBR. They just lie. They
hate business. Which means they hate people.” This defamatory remark falsely accused
Plaintiff of dishonesty and hatred of the public. “EBR” are the initials of the Plaintiff.

In one exchange, Munro stated that Plaintiff “thinks he is untouchable. But everyone can be
touched and it’s usually by someone you would never think.” The comment was clearly
threatening towards the Plaintiff in direct relation to his constitutionally protected journalism.
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Plaintiff sent an official letter to the Ocean Springs Board of Aldermen to formally notify them of
these defamatory statements made by city-appointed officials. Despite this, the Board took no
corrective or disciplinary action. Neither Munro nor Williams retracted or apologized for their
remarks, and both continue to serve in their appointed public roles. Their official affiliations with
city boards add weight and legitimacy to their false and malicious statements in the public eye.

These actions, taken by or in coordination with public officials and employees, were part of an
ongoing pattern of retaliation that supports Plaintiff's Monell claim under 42 U.S.C. § 1983.

Pressure Campaign from City Attorney Led to Job Loss

Beginning in late December 2024 and continuing into early 2025, Plaintiff's then-editor and
publisher, Leigh Coleman of the Ocean Springs Weekly Record, began receiving multiple cease
and desist letters from attorneys representing Defendant Robert Wilkinson and his private
business interests. These ventures included traffic enforcement programs such as Securix and
Intellisafe, which often operated in legal gray areas where Wilkinson’s public and private roles
appeared to conflict.

The letters accused the publication of defamation and threatened legal action in response to
articles written by Plaintiff that exposed conflicts of interest, misuse of public funds, and
bypassing of due process protections. The pressure campaign was not limited to legal threats;
Coleman also reported receiving direct and indirect messages from city officials expressing
disapproval of the paper’s reporting and demanding changes to its editorial stance.

Under the weight of mounting legal threats and the financial burden of potential litigation,
Coleman informed Plaintiff that she could no longer afford to defend the paper from lawsuits. She
explained that the city’s coordinated campaign— including the threats from Wilkinson’s legal
teams — had forced her to terminate Plaintiff's working relationship with the paper. This indirect
but intentional retaliation was designed to suppress Plaintiff's reporting and punish him for
exercising his First Amendment rights.

In or around May 2025, while Plaintiff was writing for his own publication, Wilkinson sent a text
message to Ms. Coleman stating, “He is falling right into our trap,” in reference to Plaintiff's
reporting on the Securix programs Wilkinson and the City were and are involved in. The message
was part of a broader thread in which Wilkinson attempted to reassure Coleman that Plaintiff's
work would be discredited. This text message — sent directly from Wilkinson — shows further
evidences the existence of a coordinated effort to undermine Plaintiff's credibility, suggesting
malicious intent and forethought behind the campaign of retaliation. During a telephone call to
Coleman, she asked Wilkinson to contact Plaintiff to share his side, to which Wilkinson replied,
“Nobody is calling Brian.”

These actions, taken by or in coordination with public officials and employees, were part of an
ongoing pattern of retaliation that supports Plaintiff's Monell claim under 42 U.S.C. § 1983.

34. Bonnie Munro Admits Others Should be Named in Lawsuit
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On or around June 8, 2025, Bonnie Munro, Chair of the Ocean Springs Historic Preservation
Commission, sent a text message to journalist Leigh Coleman in response to being named in this
lawsuit. Rather than deny any involvement or wrongdoing, Munro stated: “I don’t know what his
deal is with me. I don’t even know him. There are so many other people he could have
included that would have made more sense.” This message, sent privately and voluntarily,
reflects a tacit acknowledgment that other city officials engaged in conduct more egregious than
her own — and that such conduct was widely known. Munro’s admission reinforces that
Plaintiff's claims are not fabricated or speculative, but rather a selective snapshot of broader
misconduct within City Hall.

Her statement supports Plaintiff's Monell claim by demonstrating that unconstitutional behavior
was pervasive, normalized, and implicitly tolerated by municipal leadership.

Carter Thompson’s False Allegations and Subsequent Contradiction

Carter Thompson, the city’s former Community Development Director, became part of the city’s
pattern of retaliatory conduct against Plaintiff, despite his initial professional and courteous
approach. Prior to ever mentioning Ms. Thompson in any articles, Plaintiff reached out to her by
phone to request an interview for a profile piece introducing her to the community. Ms.
Thompson repeatedly declined, stating, “I don’t do interviews.” Plaintiff accepted this response
and moved on without issue.

However, in a text message later obtained through a public records request, Ms. Thompson
falsely claimed to City Clerk Patty Gaston that after the phone call, Plaintiff had barged into her
office demanding an interview and had to be intercepted by a colleague. She wrote, “He came in
and wanted to do interview with me right then and there and thank God Hannah caught
him at the [door].” This fabricated narrative portrays Plaintiff as aggressive and unprofessional,
despite the fact that Plaintiff has never visited Ms. Thompson’s office. This statement aligns with
the city’s broader strategy to paint Plaintiff as irrational and untrustworthy in retaliation for his
factual reporting.

On December 9, 2024, Plaintiff attended a public meeting at the Civic Center hosted by
Defendant Carter Thompson and her staff, including “Hannah.” During the meeting, Plaintiff
introduced himself to Hannah for the first time and stated, “Nice to finally meet you; I can’t
believe we haven’t met before.” Hannah responded, “No, we have never met before, nice to
finally meet you.”

This interaction directly contradicts Defendant Thompson’s previous allegation that Plaintiff
barged into her office, where Hannah allegedly intercepted him at the door. The conversation,
recorded by Plaintiff, unequivocally disproves Thompson’s claim, further demonstrating that her
statements were fabricated in bad faith as part of the retaliatory actions against Plaintiff.

On December 5, 2024, Plaintiff sent an email to Defendant Thompson addressing her
demonstrably false statement in a text message to the City Clerk, which inaccurately alleged that
Plaintiff had attempted to enter her office and conduct an unscheduled interview after she told
him she doesn’t do interviews. Despite being given the opportunity to clarify or correct this
statement, Defendant Thompson failed to respond. Her refusal to engage demonstrates a disregard
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for the truth and the impact of her actions on Plaintiff's professional reputation.

Mayor Holloway, on a recorded call with Leigh Coleman, stated he knew that Carter Thompson
made up the story of the Plaintiff barging into the office. “She lied about Brian going up into that
office. He never went up in that office.” However, Holloway still used the lie when it suited him.
Holloway used the fake accusation as justification to convince Thompson to have cameras
installed in Thompson’s workspace. “You had Brian Rose come and barge in, you know, and
people coming in there,” the mayor said to Thompson in a recorded conversation. “You were all
upset about that. So you know we got to have some protection up there.”

These actions, taken by or in coordination with public officials and employees, were part of an
ongoing pattern of retaliation that supports Plaintiff's Monell claim under 42 U.S.C. § 1983.

City Clerk Gaston’s Knowledge of Smear Campaign

In January 2025, after Plaintiff's professional relationship with the Ocean Springs Weekly Record
was terminated under pressure from city officials, Plaintiff received a screenshot of a text
message sent by City Clerk Patty Gaston to the newspaper’s editor, Leigh Coleman. The message
revealed that Carter Thompson, the city’s Community Development Director, had devised a
smear campaign against Plaintiff involving the creation of a defamatory website. Gaston wrote:

“Please don’t tell Brian but she hates him so much she told me around a month ago that she found
a hacker that would set up a website on him for $200. That is how evil she is.”

Gaston sent this message weeks before Plaintiff was made aware of the plot. Despite knowing
about the planned harassment by a fellow city employee, Gaston took no action to stop it, warn
Plaintiff, or report it through proper channels. This failure to intervene demonstrates not only
complicity but also a deliberate choice to withhold information that could have protected Plaintiff
from reputational harm and emotional trauma.

Gaston’s knowledge of this malicious plan — and her decision to keep it secret for a month —
reflects a broader pattern of retaliation, bad faith, and emotional cruelty toward Plaintiff by city
leadership. The fact that she shared this information only with Plaintiff's former-employer further
suggests an attempt to undermine Plaintiff's standing behind the scenes while maintaining public
deniability.

These actions, taken by or in coordination with public officials and employees, were part of an
ongoing pattern of retaliation that supports Plaintiff's Monell claim under 42 U.S.C. § 1983.

False Statements by Police Chief Ryan Lemaire at Board of Aldermen Meeting

On December 17, 2024, during a Board of Aldermen meeting, Chief of Police Ryan Lemaire
publicly accused Plaintiff of spreading misinformation regarding the city’s purchase of a vehicle
tracking system. He falsely stated that Plaintiff's reporting was "100% not true" and that the
system included only pan, tilt, zoom cameras, despite official records documenting the Al
capabilities of the system, as reported by Plaintiff. Lemaire later repeated these false claims
during an interview with WLOX in a report, further damaging Plaintiff's credibility. Furthermore,
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Lemaire claimed Plaintiff lied when he wrote an article stating the expenditure for this operating
system was hidden in the meeting’s consent agenda and voted on without public notification or
debate. It demonstrably was tucked into the consent agenda.

These actions, taken by or in coordination with public officials and employees, were part of an
ongoing pattern of retaliation that supports Plaintiff's Monell claim under 42 U.S.C. § 1983.

Securix Scandal

Between December 20, 2024 and January 5, 2025, Plaintiff published a series of investigative
articles exposing financial ties between City Attorney Robert Wilkinson, former Police Chief
Mark Dunston, and Securix. These articles detailed how Wilkinson and Dunston profited
personally from a contract with Securix to install a controversial camera system. Despite their
accuracy, the articles prompted retraction demands, threats of legal action, and harassment from
Wilkinson’s business partner, Josh Gregory, who sent multiple threatening emails and made
intimidating calls to Plaintiff and his editor. Numerous letters to Plaintiff's employer were
received from law firms representing City Attorney Wilkinson and his business interests.

Failure to Investigate Plaintiff's Formal Complaint

On or around September 16, 2024, Plaintiff filed a formal complaint with the Ocean Springs
Human Resources Department regarding the retaliatory and defamatory actions of City Clerk
Patty Gaston, as detailed in this Complaint. On September 19, 2024, after receiving no response,
Plaintiff sent a follow-up email to confirm receipt of the complaint. That same day, Human
Resources Director Mindy McDowell responded, stating, “We have received your complaint
regarding the actions of City Clerk Patty Gaston, and we will be reviewing and investigating the
situation.” Despite this acknowledgment, Plaintiff has received no further communication from
the Human Resources Department regarding the status or outcome of the investigation, despite
several emails asking for an update. A subsequent public records request resulted in the City
denying Plaintiff access to updates.

This lack of follow-up, combined with no follow-ups to Plaintiff's letters to Aldermen on the
same matter, demonstrates the City’s failure to take Plaintiff's concerns seriously and reflects a
broader pattern of inaction and indifference toward misconduct by city officials.

These actions, taken by or in coordination with public officials and employees, were part of an
ongoing pattern of retaliation that supports Plaintiff's Monell claim under 42 U.S.C. § 1983.

Unlawful Secret Audio Surveillance Inside City Hall

In early 2025, Plaintiff discovered that the City of Ocean Springs had been secretly recording
audio of conversations in public areas of City Hall, including the hallway outside the Board of
Aldermen meeting room—a space where journalists, city staff, and residents frequently gather to
speak before and after meetings. No signage or notice was posted to alert the public that audio
surveillance was in effect.

Plaintiff had numerous personal and professional conversations in that hallway, including
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confidential phone calls and discussions with sources, and reasonably expected those
conversations to remain private. The city never disclosed this surveillance policy until Plaintiff
exposed the practice in a published article.

Following the article’s publication, City officials confirmed the existence of the recording system
and admitted in writing that no policies governed who could access the recordings, no logs were
kept, and that the surveillance system had been in place since at least October 2021. Mayor
Kenny Holloway stated that signage would be ordered to warn the public, but a whistleblower
from the Public Works Department later informed Plaintiff that no such sign had been ordered,
contradicting the mayor’s public claims.

Whistleblowers further confirmed that officials routinely accessed and reviewed audio recordings
after public meetings. On June 2, 2025, Plaintiff sent a direct email to City Clerk Patty Gaston
seeking clarification:

“In light of recent confirmation that unmarked audio surveillance devices have been active inside
Ocean Springs City Hall, I am requesting a straightforward answer to the following: Have you
ever personally viewed or listened to any audio or video recordings made by these devices? If so,
how approximately many times? Also, do you know of other employees or officials who have
accessed the recordings? If so, who are they?”

Gaston did not respond. Her silence in the face of this serious constitutional concern — especially
after insiders alleged misuse — underscores the City’s deliberate indifference to the rights of
journalists and citizens. The lack of any written policy, oversight, or signage further demonstrates
that the City maintained and used this surveillance system in a manner that violated clearly
established constitutional rights. These practices had a chilling effect on Plaintiff's journalistic
activity and personal privacy, confirming yet another form of retaliation and misconduct by the
City of Ocean Springs.

These actions, taken by or in coordination with public officials and employees, were part of an
ongoing pattern of retaliation that supports Plaintiff's Monell claim under 42 U.S.C. § 1983.

Stonewalling Public Records Requests

On or around September 24, 2024, Plaintiff submitted a public records request to the City of
Ocean Springs seeking all emails and text messages sent or received by city officials that
referenced Plaintiff or his work as a journalist, including communications on both city-owned and
personal devices as permitted under the Mississippi Public Records Act (MPRA). The City Clerk
stated that fulfilling the request would likely cost hundreds of dollars and required Plaintiff to pay
a fee merely to obtain an estimate of the total cost. To avoid these unreasonable financial barriers
designed to deter transparency, Plaintiff agreed to limit his request to text messages only.

On or around October 1, 2024, City Clerk Patty Gaston informed Plaintiff that the city had
identified records responsive to his request and provided a cost estimate for the production of text
messages. However, when Plaintiff received the records on December 5, 2024, it became evident
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that the response was incomplete:

e The records included text messages from Defendant Gaston’s phone but omitted
corresponding messages from other city officials, including Alderman Jennifer Burgess
and Community Development Director Carter Thompson, with whom Gaston had texted
back and forth.

e After Plaintiff sent a follow-up email raising attention to missing information, Gaston
admitted the city forgot to include a text message written by the mayor, which she
attached to the email. Gaston further admitted in email correspondence that she lost her
phone, potentially resulting in the loss of additional responsive records, and
acknowledged that she had not verified whether all officials conducted thorough searches
of their devices.

Despite Defendant Gaston’s assertion that most officials claimed they had no responsive text
messages, Plaintiff has further direct evidence to the contrary:

e Plaintiff received a screenshot from an Ocean Springs resident showing a text exchange
with Alderman Jennifer Burgess, dated within the scope of the request, in which both
parties referenced Plaintiff by name. This exchange was within the scope of Plaintiff's
request but was not included in the records provided by the city.

e Plaintiff is also aware of multiple instances in which the editor of the Ocean Springs
Weekly Record, Leigh Coleman, sent links to Plaintiff's articles to city officials via text
message and received responses. These text exchanges were not disclosed, despite being
directly responsive to Plaintiff's request.

Plaintiff repeatedly raised these discrepancies with Defendant Gaston via email, requesting
clarification and assurances of compliance. In response, Defendant Gaston admitted that:

e Text messages were retrieved from her phone but not from the devices of other officials.

e She lacked the authority to ensure that all officials conducted thorough searches or
preserved records, particularly on personal devices.

e Officials’ phones may have been wiped or records deleted during the time the request
was pending.

e Gaston further disclosed that her own phone, containing relevant records, had been lost.

e She referred the matter to the city attorney, yet the city attorney did not follow up with
Plaintiff regarding this issue.

Defendant Gaston’s admissions, coupled with the missing records that Plaintiff knows to exist,
highlight a troubling pattern of non-compliance with the MPRA and suggest either gross
negligence or intentional concealment of public records by city officials.
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In a staff meeting that was secretly recorded by Carter Thompson, Mayor Holloway and another
city employee both stated Gaston losing her phone was “the best thing that could have
happened.”

The City’s incomplete and misleading responses to Plaintiffs public records request are part of a
broader pattern of retaliatory conduct aimed at obstructing Plaintiff's journalistic activities. By
withholding records that reference Plaintiff or his work, city officials sought to suppress reporting
on their actions and avoid accountability.

The failure to produce text messages and emails that Plaintiff independently verified as existing
demonstrates bad faith in fulfilling statutory obligations under the Mississippi Public Records
Act. Gaston’s admission that her phone was lost and that she could not ensure compliance from
other officials further illustrates gross negligence or deliberate concealment. These omissions
were intended to frustrate Plaintiffs ability to expose city misconduct, violating both state law
and constitutional principles of transparency.

On several occasions, Plaintiff was denied public records and proceeded to file an official appeal.
Several of those appeals went unanswered by city officials. These actions, taken by or in
coordination with public officials and employees, were part of an ongoing pattern of retaliation
that supports Plaintiff's Monell claim under 42 U.S.C. § 1983.

Alderman Disavows Representation of Plaintiff Because He Exercised His Rights

On or about June 8, 2025, Plaintiff, a resident of Ward 1, publicly asked Alderman Jennifer
Burgess for a copy of a city work order spreadsheet she had referenced and offered to other
residents on her official “Alderman Ward 1” Facebook page. In response, Alderman Burgess
posted a public comment stating:

“E Brian Rose for clarification, because you have threatened to sue me, I have been advised not
to respond to you... Any and all questions from you are to go through city hall. I would
respectfully request (again) that you please leave me alone.”

This exchange occurred on her official city account and followed a pattern of Burgess making
similar disavowals in her official capacity. Notably, in the same thread, Burgess assured another
Ward | resident that she would “always” be available to respond and assist him directly. Her
public refusal to engage with Plaintiff — a constituent — and her demand that he “leave [her]
alone” clearly demonstrate that she disavowed her duties as Plaintiff's elected representative
solely because he had engaged in protected speech, including criticism of city officials and the
filing of a mandatory notice of claim under state law.

By conditioning constituent services on viewpoint conformity, and excluding Plaintiff based on
his journalism and protected legal activity, Burgess furthered the City’s unconstitutional policy of
retaliation. Her actions punished Plaintiff for exercising his rights and obstructed access to his
duly elected representative. This conduct is particularly egregious given that Burgess holds a
legislative office charged with serving all residents of her ward, regardless of political or legal
disagreement.
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Official Endorsement of Anti-Speech Sentiment by Final Policymaker

On or about September 23, 2024, Mayor Kenny Holloway, acting in his official capacity as final
policymaker for the City of Ocean Springs, authored and published an editorial in the Ocean
Springs Weekly Record entitled “From the Desk of the Mayor.” In this piece, the Mayor publicly
characterized online political criticism as “spewing hate,” labeled citizen questions as “suspicion
or doubt,” and asserted that residents should “step back from the keyboard” rather than continue
to express dissent. He further stated that the spread of “misinformation” was “killing the charm of
our small town,” without defining the term.

Although couched as a call for civility, the editorial explicitly discouraged political discourse,
framed dissent as harmful, and praised those who expressed only positive messages. This
publication served as an official ratification of the City’s broader practice of discrediting and
retaliating against critics, particularly journalists and residents who challenge municipal
decisions, and is consistent with the pattern of conduct described throughout this Complaint. The
editorial reinforced a municipal custom of discouraging protected speech and created a chilling
effect on those seeking to engage in public discourse about matters of governmental concern.

Causation for Retaliation

The sequence of events demonstrates a direct and unequivocal causal link between Plaintiff's
constitutionally protected reporting on matters of public concern and the retaliatory actions taken
by the Defendants, each of whom acted in direct response to Plaintiff's publications. Plaintiffs
critical articles addressed specific failures by the City of Ocean Springs, such as noncompliance
with legal notification requirements for zoning changes and the hiring of Community
Development Director Carter Thompson despite her documented professional controversies.
These articles were factually accurate, essential for public awareness, and well within the bounds
of protected speech.

Within days of their publication, Defendants initiated a pattern of retaliatory actions, including
derogatory communications, fabricated allegations, and efforts to interfere with Plaintiff's
employment, all aimed at silencing and discrediting him. In many instances, like the phone call
from Burgess to the Plaintiff and text messages from Gaston and the mayor to Plaintiff's
employer, the Plaintiff's articles were directly mentioned. The close temporal proximity and
targeted nature of Defendants’ responses confirm their intent to retaliate against Plaintiff for his
reporting.

The timing and nature of Defendants’ actions underscore this causation. Shortly after the
publication of Plaintiff's articles:

e City Clerk Patty Gaston sent derogatory text messages to Plaintiff's employer, referring
to him as "a piece of shit" and threatening to reveal damaging personal information.
Gaston also publicly disparaged Plaintiff's articles as “misleading” without providing any
factual basis, attempting to discredit his work in retaliation for his reporting.

e Alderman Jennifer Burgess directly targeted Plaintiff in response to his reporting. On
September 14, 2024, Burgess contacted Plaintiff to chastise him for exercising his First
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Amendment rights, stating, "Just because you have the right to report certain things
doesn’t mean you should.” She specifically criticized Plaintiff's inclusion of factual
information about the hiring of Carter Thompson, calling it “unfortunate” that the First
Amendment protects such reporting. Describing Plaintiff's writing as “unkind,” Burgess
sought to undermine his credibility.

Immediately following this phone conversation, Burgess called Plaintiff's employer,
describing him as "bad news" and suggesting reconsideration of his employment — a
deliberate attempt to interfere with Plaintiff's career in retaliation for his reporting.
Additionally, in a text message to City Clerk Gaston, Burgess admitted to intentionally
provoking Plaintiff during a public meeting to “get him to show his true colors,” later
exclaiming, “I’m good!” when she believed her provocation had succeeded. Burgess also
falsely claimed Plaintiff had “threatened” her “multiple times” during the meeting, as
proven false by the City’s own video recording of the event.

The retaliatory intent and coordinated effort to discredit Plaintiff are further evidenced by
text messages between Alderman Burgess and City Clerk Gaston. For example, Burgess
stated, “He’s still going to try and shine us in a negative light... watch,” further
illustrating her intent to suppress Plaintiff's reporting and preemptively dismiss any
legitimate criticism.

Gaston’s response, “I think maybe when he said he didn’t ask you all to fire me that was
a screw up too,” and Burgess’s agreement, “Yes, because we have the letter to prove it,”
reveal a shared effort to misrepresent Plaintiff's actions and statements. This exchange
demonstrates their willingness to manipulate facts to fit a narrative that discredits
Plaintiff and justifies their retaliatory behavior.

e Mayor Kenny Holloway, in his official capacity, contacted the owner of The Ocean
Springs Record multiple times, expressing dissatisfaction with Plaintiff's articles.
Following these complaints, Holloway made phone calls to Plaintiff's employer,
expressing “disappointment” and “surprise” that Plaintiff remained employed and
referencing negative social media commentary about Plaintiff. These actions abused
Holloway’s authority and were clearly intended to retaliate against Plaintiff for exercising
his constitutionally protected rights.

e City officials, including Community Development Director Carter Thompson,
fabricated a false account of an interaction with Plaintiff, alleging after a phone call
where she declined an interview, Plaintiff barged into her office to demand an interview
“right then and there” and had to be intercepted at the door by a colleague — an assertion
disproven by Plaintiff's recordings. Thompson’s fabrication was intended to discredit
Plaintiff and diminish his credibility as a journalist.

The actions of Gaston, Holloway, Burgess, Thompson, and other officials form a broader pattern
of retaliatory conduct by the City of Ocean Springs. Each retaliatory act arose directly and solely
in response to Plaintiff's articles, demonstrating Defendants’ intent to silence and discredit
Plaintiff for exercising his First Amendment rights.
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The retaliatory conduct occurred within a close temporal proximity to Plaintiff's reporting,
creating a strong inference of retaliatory motive. For instance, within hours of Plaintiff's article
on zoning changes, City Clerk Patty Gaston sent derogatory messages to Plaintiff's employer, and
Mayor Kenny Holloway contacted the employer multiple times. Such temporal proximity and
targeted conduct establish “but-for causation” as required by Hartman v. Moore and demonstrate
that Defendants' animus toward Plaintiff's reporting was the driving force behind the retaliation.

The coordinated efforts of Burgess, Gaston, and Holloway to defame Plaintiff, obstruct public
records, and contact his employer demonstrate a pattern of retaliatory conduct that transcends
isolated incidents. Burgess’s text, “He’s still going to try and shine us in a negative light...
watch,” reflects the collective intent of city officials to discredit Plaintiff and suppress his
reporting. This pattern confirms that retaliation was not incidental but systemic and deliberate,
targeting Plaintiff for exercising his constitutional rights.

Several public defamatory posts and comments made by City officials specifically referenced his
constitutionally protected writing as the reason for their comments.

Plaintiff had no prior relationship or interaction with most Defendants before publishing his
articles. Plaintiff's reporting marked his first professional engagement with these individuals,
eliminating any possibility of pre-existing bias or personal animosity. The retaliatory actions
taken by Defendants were clearly motivated solely by the content of Plaintiff's articles, which
criticized their official conduct and raised issues of public concern. This timeline establishes that
Defendants’ responses were a direct reaction to Plaintiff's exercise of his First Amendment rights
as a journalist.

Retraction Letter from Firm Representing Robert Wilkinson’s Interests

In May 2025, following publication of an article detailing the City of Ocean Springs’
involvement in the Securix ticketing scheme, as well as ties of local and state actors to another
ticketing scheme called Intellisafe, Plaintiff received a multi-page retraction demand letter from
the law firm representing Intellisafe. City Attorney Robert Wilkinson is the only listed
member/owner of Intellisafe in sate filings. The letter was issued on behalf of the company in
response to Plaintiff's reporting, which accurately detailed matters of public concern including
the City’s contracts, enforcement practices, and conflicts of interest involving City Attorney
Robert Wilkinson. Despite being sent under Intellisafe’s name, the demand letter was clearly
intended to suppress protected speech about Wilkinson’s dual role in public office and private
ventures. This act is consistent with a broader campaign of retaliation against the Plaintiff by
Wilkinson and others acting under color of law.

Witkinson’s False Safety Complaint to Law Enforcement

In May 2025, Defendant Wilkinson escalated his campaign of retaliation by falsely portraying
Plaintiff as a violent threat to law enforcement. According to Plaintiff's former employer, Leigh
Coleman, Wilkinson told her that he contacted Ocean Springs Police Chief Steven Dye and
alleged that Plaintiff posed a threat to his family’s personal safety. These claims were made after
Plaintiff published articles critical of the City and Wilkinson's conduct. Coleman relayed that she
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spoke with both Wilkinson and Dye to confirm and that Wilkinson told Dye Plaintiff had a “brain
problem” and was violent.

Plaintiff immediately and professionally contacted Chief Dye to clarify any concerns. In a written
email dated May 9, 2025, Plaintiff stated:

“I was recently informed that Robert Wilkinson or his wife may have spoken with you regarding
safety concerns they had following one of my recent articles. [ want to clarify that | have never
had any unprofessional or threatening interactions with any city official. Are there any concerns
on your end that I can address for you on this matter?”

Chief Dye replied in writing, “No problems at all. Have a good day.”

This brief but clear exchange confirms that Plaintiff posed no threat, and that Wilkinson’s
statements were knowingly false, made with malicious intent, and intended to portray Plaintiff as
mentally unstable and dangerous in order to discredit his journalism. These actions support
Plaintiff's claims of First Amendment retaliation, defamation per se, and intentional infliction of
emotional distress. They also serve as further evidence of a broader policy, pattern, or custom of
retaliatory conduct against critics and journalists by Ocean Springs officials.

Wilkinson’s False and Retaliatory Statements to the Mississippi Bar

In April 2025, Defendant Wilkinson submitted a written response to a disciplinary complaint
before the Mississippi Bar in which he made multiple false and misleading statements about
Plaintiff. In that document, Wilkinson falsely claimed that Plaintiff had omitted Wilkinson’s
denial of compensation in a published article. In truth, the Plaintiff's article included Wilkinson’s
quoted denial verbatim.

Wilkinson also falsely suggested that Plaintiff was not a legitimate journalist and characterized
the article as a “deliberately misleading” attack piece intended to support a complaint —
statements made with knowledge of their falsity. These defamatory and retaliatory
mischaracterizations, submitted under color of law in an official capacity, are further evidence of
the City’s policy and practice of discrediting Plaintiffs constitutionally protected speech through
knowingly false statements.

Misrepresentation of Legal Correspondence and Alteration of Meeting Minutes

In December, 2024, Plaintiff submitted a formal letter of intent to file suit against the City of
Ocean Springs. During a later public Board of Aldermen meeting, City Attorney Will Norman
mischaracterized the letter on the record, suggesting that the basis of my impending lawsuit was
about political background checks, not the Constitutional and state issues stated in the letter. He
also stated that I was singling out Patty Gaston, making the public think the entire lawsuit was
against her only.

The official minutes of the meeting representing this false description. Plaintiff raised objections
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to this misrepresentation at a future meeting, and the Board later amended the meeting minutes.
The alteration of public records to correct a public official’s false statement demonstrates both the
harm of that falsehood and the City’s pattern of misusing public forums to discredit Plaintiff's
lawful exercise of his rights.

Falsification of Official Actions and Bad-Faith Settlement Conduct

In or around March and again in April 2025, Plaintiff submitted a formal written request for a
meeting with the Mayor and City Attorney to discuss potential resolution of ongoing
constitutional concerns. In response, Attorney Will Norman sent an email to Plaintiff stating that
the Board and Mayor had met in executive session and voted to deny the meeting request. This
representation was false. The official minutes of the executive session reflect no such vote or
action, and Alderman Bobby Cox personally confirmed to Plaintiff that no vote occurred and no
discussion was held on the matter.

In that same email, Norman solicited a written settlement offer from Plaintiff. Acting in good
faith, Plaintiff promptly submitted a formal offer. However, Alderman Cox later confirmed that
Norman never presented the settlement offer to the Board of Aldermen for consideration. The
City Attorney did not present the offer to the Board of Aldermen, took no official action on the
offer, and never responded. This sequence of events demonstrates not only bad faith by the City
Attorney’s office, but also a coordinated effort to create a false appearance of due process while
deliberately suppressing a legitimate attempt at resolution.

Plaintiff also notified the City that, under the Mississippi Open Meetings Act, any final action
taken in executive session must be publicly recorded in the minutes. The City failed to correct the
record or disclose any official action. This fabrication and concealment of public business support
Plaintiff's Monell claim by demonstrating a broader pattern of retaliatory misconduct, deception,
and denial of access to redress.

Subsequent Government Action Confirms Plaintiff's Reporting Was Accurate and Effective

City officials repeatedly attacked Plaintiff's journalism as biased, unprofessional, or untrue. Yet,
their own actions tell a different story. In the wake of multiple published articles, Ocean Springs
leadership made significant policy changes that aligned directly with the issues exposed by
Plaintiff. These changes not only demonstrate the factual accuracy of Plaintiff's reporting, but
also provide further evidence that the retaliatory conduct was motivated by a desire to suppress
truthful speech rather than correct falsehoods and/or wrongdoings. Examples include:

A. After Plaintiff exposed years of secret audio surveillance at City Hall, the Mayor publicly
announced new signage would be installed, remedying years of nondisclosure to
residents.

B. Plaintiff's reporting on the City Attorney’s undisclosed conflict of interest in the Securix
program led to a Board vote to replace him, citing the very issues Plaintiff uncovered.

C. Articles about environmental concerns regarding the Leica property and adjacent daycare
prompted the City to contact Leica and state officials for updated testing.

D. Plaintiff revealed an unconstitutional policy requiring candidates to submit personal
information and undergo background checks; the policy was rescinded days later.
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Reporting on inaccuracies in Board minutes led to a formal vote to correct them.

A proposed resolution on short-term rentals flagged as potentially unconstitutional in
Plaintiff's article was tabled after publication.

G. Articles detailing Carter Thompson’s problematic employment history — which officials
initially dismissed as unfair — were later vindicated by a suspension and her eventual
departure following conduct similar to what was reported by Plaintiff.

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These and other examples highlight a pattern: City officials took corrective action only after
public exposure, and then turned their ire toward the messenger instead of the misconduct. This
supports Plaintiff's Monell claim, showing that retaliatory suppression of dissent, not public
interest, was the operative policy.

Impact on Plaintiff's Journalism and First Amendment Principles

The actions of the City of Ocean Springs and its officials have had a profound chilling effect on
Plaintiff's ability to perform his duties as a journalist and have sent a message to all residents and
journalists that public accountability will be met with retaliation. By creating a hostile
environment, Defendants’ conduct sets a dangerous precedent that not only undermines the
essential role of a free press but also discourages civic engagement and public scrutiny of
government actions, eroding the democratic principles that protect all citizens.

This chilling effect discourages other journalists and members of the community from engaging
in open discourse, thereby eroding public trust in local government and diminishing transparency.

Unlike other municipalities Plaintiff has reported on along the Mississippi Gulf Coast, including
Moss Point, Gautier, Biloxi, and Pass Christian, the City of Ocean Springs has responded to
legitimate press oversight with a pattern of obstruction and retaliation. Other cities, while not
always pleased with critical reporting, have engaged in dialogue and worked to address the issues
raised. Ocean Springs’ choice to weaponize its influence against Plaintiff represents a stark
deviation from the norms of governmental accountability and public engagement.

The stonewalling of public records requests, coupled with defamatory public statements and
private efforts to discredit Plaintiff, demonstrates the city’s intent to punish critical reporting and
deter future scrutiny. By targeting Plaintiff, a journalist with a decades-long commitment to
upholding the principles of a free press, the Defendants' actions aim to suppress public
accountability and discourage other members of the community from questioning government
actions.

Despite publishing critical articles about multiple cities along the Mississippi Gulf Coast,
including Moss Point, Gautier, Biloxi, and Pass Christian, Plaintiff has only experienced this
level of retaliation from Ocean Springs. This stark contrast underscores the city’s disdain for
accountability and its unwillingness to tolerate legitimate press oversight. Unlike other local
governments, which have engaged in dialogue or addressed the issues raised in Plaintiff's
reporting, Ocean Springs has chosen to weaponize its influence against him, violating the First
Amendment and undermining the public’s right to know.

The First Amendment guarantees not only freedom of the press but also the right of citizens to
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hold their government accountable. The city’s retaliatory actions against Plaintiff are not just an
attack on him personally but an attack on these foundational principles. The chilling effect
extends beyond Plaintiff, sending a clear message to other journalists and residents: criticize the
government at your peril.

Defendants’ actions were in clear violation of Plaintiff's well-established rights under the First
and Fourteenth Amendments, rights which no reasonable government official could have believed
were lawfully subject to suppression or retaliation.

Pattern of Retaliation and Misinformation

The city’s conduct reveals a clear pattern of retaliation designed to silence dissent and discourage
investigative reporting. From Alderman Burgess’s admitted attempts to provoke Plaintiff and
paint him as a threat, to Mayor Holloway’s calls seeking to have him fired, to the deliberate
omissions and obfuscation in response to public records requests, the city has engaged in a
calculated effort to shield its actions from scrutiny. These retaliatory acts are compounded by the
spreading of false narratives, such as Burgess’s claims of threatening behavior and Carter
Thompson’s fabricated account of an interaction that never occurred. This pattern demonstrates a
blatant disregard for transparency, accountability, and the rights of the press.

Jennifer Burgess’s actions against Plaintiff align with her broader pattern of exceeding the bounds
of her role as an alderman. By engaging in executive functions, such as negotiating with state
agencies and directing city employees, Burgess has demonstrated a belief that she is above the
separation of powers mandated by Mississippi law. This unchecked overreach has extended to
retaliatory conduct aimed at silencing Plaintiff's reporting, as she perceives journalistic oversight
as a personal threat rather than a function of accountability.

Upon information and belief, the individuals who spread defamatory statements regarding
Plaintiff's personal life — either directly or through insinuation — relied on an arrest that
resulted in no charges and was later dismissed and expunged by court order. Reliance on such
sealed, legally nullified information reflects either actual knowledge of falsity or a reckless
disregard for the truth, thereby supporting a finding of actual malice.

Despite being formally notified in writing — both by Plaintiff and others — that the allegations
were demonstrably false and unsupported by any judicial finding, city officials continued to
repeat or endorse the statements. This willful persistence, following a clear and documented
cease-and-desist demand, further evidences actual malice and demonstrates the City’s ratification
of retaliatory defamation under color of law.

The retaliatory actions described herein reflect a de facto policy or custom of the City of Ocean
Springs to suppress criticism and retaliate against individuals who exercise their First
Amendment rights to free speech and press. The failure of the city's leadership to address or
correct these unconstitutional actions, despite being fully aware of them, constitutes a tacit
approval of such conduct.
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Personal and Emotional Harm to Plaintiff

Plaintiff is a 100% disabled combat veteran with diagnosed PTSD, sleep disorders, and other
ailments resulting from his military service.

The retaliatory actions and obstruction by Defendants, including defamatory public statements,
refusal to provide public records, and targeted retaliation against Plaintiff's reporting activities,
have caused severe and ongoing emotional distress. These actions have exacerbated Plaintiff's
PTSD symptoms, leading to increased anxiety, sleep disruptions, and difficulty managing daily
life. The extreme and calculated nature of Defendants’ conduct, coupled with their positions of
authority, has magnified the emotional toll on Plaintiff, making recovery more difficult

These harms are ongoing and substantial, significantly affecting Plaintiffs ability to conduct his
professional and personal life.

Necessity of Declaratory and Injunctive Relief

Given the ongoing retaliation, misinformation, and attempts to obstruct journalistic efforts,
declaratory and injunctive relief are necessary to protect Plaintiff's constitutional rights and to
ensure that Ocean Springs officials adhere to their obligations under the law. A declaratory
judgment affirming that the city’s actions violated Plaintiff's First Amendment rights is essential
to hold the city accountable and deter similar conduct in the future. Injunctive relief is also
critical to prevent further retaliatory actions, guarantee compliance with public records laws, and
safeguard the ability of journalists and residents to engage in open discourse without fear of
government reprisal.

The city’s behavior sets a dangerous precedent that threatens not only Plaintiff's rights but also
the broader principles of a free press and government accountability. This case is not merely
about personal retaliation — it is about preserving the integrity of the First Amendment and
ensuring that public officials are held to the highest standards of transparency and respect for
constitutional rights.

The Broader Threat to Press Freedom

The actions described in this Complaint represent not only a direct violation of Plaintiff's
constitutional rights but also a broader attack on the essential role of a free press in a democratic
society. By targeting Plaintiff for his factual reporting, Defendants have sent a chilling message to
journalists and residents alike: dissent and public accountability will be met with retaliation. This
pattern of behavior threatens to erode public trust in government and suppress the free exchange
of ideas and information, which are cornerstones of our democracy.

Pattern of Constitutional Violations by the City of Ocean Springs

The conduct described in the preceding sections illustrates a persistent pattern of constitutional
violations by the City of Ocean Springs and its officials. City representatives, including the
mayor, aldermen, city attorney, police chief, and others, engaged in acts of retaliation, selective
enforcement, censorship, and viewpoint discrimination. These actions were not isolated incidents
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but part of an ongoing, coordinated practice designed to punish protected speech and suppress

dissent. This pattern supports Plaintiff's claims under Monell v. Department of Social Services,
436 U.S. 658 (1978), and establishes the City’s liability for maintaining policies, customs, and
practices that violate the First and Fourteenth Amendments.

57. Loss of Employment and Opportunity

As a direct result of the retaliatory actions detailed in this complaint, Plaintiff's anticipated long
term employment with the Ocean Springs Weekly Record was downgraded to freelance
submissions and eventually severed completely. Following increased threats from Wilkinson and
his associates, the publication terminated its relationship with Plaintiff, citing concerns for costly
legal fees as a direct result from Wilkinson and other officials badgering the company over
Plaintiff's factual reporting.

Preserved Evidence

58. Plaintiff has preserved recordings, emails, text messages, transcripts, and other documentary
evidence that corroborate the allegations described herein. While these materials are not attached
to the present complaint, Plaintiff will produce them during discovery and in opposition to any
dispositive motions filed by Defendants, ensuring the Court has access to a compelling record of
the alleged conduct. By introducing evidence at these critical stages, Plaintiff aims to demonstrate
the substantive merit of his claims and counter any defenses raised by Defendants. Plaintiff also
reserves the right to present additional evidence discovered during the course of this litigation,
which may further substantiate the allegations outlined herein.

Plaintiff has preserved and is also in possession of additional evidence of retaliatory conduct,
including knowingly false statements made by public officials about Plaintiff's character,
personal history, and legal record. These attacks —- disseminated publicly and endorsed by
individuals acting under color of law — will be introduced during discovery and at trial in
support of Plaintiff's claims for defamation, stigma-plus due process violations, and retaliatory
motive.

The decision not to attach these materials to the initial complaint reflects a deliberate strategy to
streamline these proceedings and reserve detailed evidentiary presentation for appropriate stages,
including opposition to dispositive motions and trial. This approach underscores the strength of
Plaintiff's case and ensures the Court will have access to a robust evidentiary record when it is
most relevant to its decision-making.

Claims for Relief
Count I: Violation of First Amendment Rights (Retaliation)
Defendants:

e Kenny Holloway (in his official and individual capacities)

e Jennifer Burgess (in her official and individual capacities)
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Patty Gaston (in her official and individual capacities)

Ken Papania (in his official and individual capacities)

Mike Impey (in his official and individual capacities)

Robert Wilkinson (in his official and individual capacities)

Kenny Williams (in his official and individual capacities)

Bonnie Munro(in her official and individual capacities)

Ryan Lemaire (in his official and individual capacities)

John/Jane Does 1-10

The City of Ocean Springs

Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein.

Defendants, acting individually and in concert under color of state law, retaliated against Plaintiff
for engaging in constitutionally protected speech, including but not limited to journalism critical
of public officials, public records requests, and the filing of a notice of intent to sue.

As detailed in the Factual Background, Defendants’ retaliatory actions include threats, denial of
services, dissemination of defamatory claims, selective enforcement of ordinances, suppression of
public access, and interference with Plaintiff's right to petition and report on government activity.
These examples are representative and do not reflect the full scope of the retaliation.

Defendants’ actions were motivated by animus toward Plaintiff's protected activity and were
intended to chill or punish his exercise of First Amendment rights.

Count ITI: Violation of Fourteenth Amendment Rights (Equal Protection)

Defendants:

Kenny Holloway (in his official and individual capacities)
Jennifer Burgess (in her official and individual capacities)
Patty Gaston (in her official and individual capacities)
Ken Papania (in his official and individual capacities)
Mike Impey (in his official and individual capacities)
Robert Wilkinson (in his official and individual capacities)
Kenny Williams (in his official and individual capacities)
Bonnie Munro(in her official and individual capacities)
Ryan Lemaire (in his official and individual capacities)

John/Jane Does 1-10
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The City of Ocean Springs

Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein.

The Equal! Protection Clause of the Fourteenth Amendment prohibits government officials from
selectively enforcing laws or policies based on a citizen’s viewpoint, protected speech, or
personal identity.

Defendants, acting under color of law, treated Plaintiff differently from similarly situated
individuals solely because of his constitutionally protected activities, including his investigative
journalism, criticism of public officials, and public records inquiries.

As described in the Factual Background, Defendants engaged in a pattern of discriminatory
enforcement and denial of services: refusing to respond to Plaintiff's requests, publicly
disavowing their duty to represent him, withholding public information routinely given to others,
and selectively applying laws and policies to hinder Plaintiff's access and expression. These
incidents are illustrative and do not represent the full extent of unequal treatment.

Defendants’ actions were not based on any legitimate governmental interest, but rather on animus
toward Plaintiff's viewpoint and intent to suppress dissent and public accountability. This
unequal treatment violated Plaintiff's rights under the Fourteenth Amendment.

Count IH: Violation of Mississippi Public Records Act

Defendants:

Kenny Holloway (in his official and individual capacities)
Jennifer Burgess (in her official and individual capacities)
Patty Gaston (in her official and individual capacities)
Robert Wilkinson (in his official and individual capacities)
John/Jane Does 1-10

The City of Ocean Springs

Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein.

The Due Process and Equal Protection Clauses of the Fourteenth Amendment protect an
individual’s right to access government services and forums without discrimination or retaliation
based on viewpoint or protected speech.

Defendants, acting under color of law, deliberately obstructed Plaintiff's ability to access
government information, services, and representatives. This included refusing to answer
legitimate public inquiries, requiring Plaintiff alone to route questions through indirect channels,
excluding him from constituent services routinely offered to others, and ignoring or retaliating
against formal attempts to engage with city leadership.
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These acts of exclusion were motivated by Plaintiff's constitutionally protected speech, including
his investigative reporting and criticism of city officials. As detailed in the Factual Background,
Defendants’ behavior was part of a broader campaign to isolate Plaintiff from public participation
and hinder his ability to exercise rights guaranteed by law. These examples are representative, not
exhaustive.

The denial of access imposed by Defendants violated Plaintiff's Fourteenth Amendment rights by
conditioning basic government services on political compliance and suppressing dissent through
structural and procedural barriers.

Count IV: Violation of Fourth Amendment Rights (Unlawful Search and Seizure — Audio
Surveillance)

Defendants:

1.

Kenny Holloway (in his official and individual capacities)
Patty Gaston (in her official and individual capacities)
John/Jane Does 1-10

The City of Ocean Springs

Plaintiff incorporates by reference ali preceding paragraphs as if fully set forth herein.

The Fourth Amendment to the United States Constitution protects individuals from unreasonable
searches and seizures, including warrantless government surveillance that invades areas where a
person has a reasonable expectation of privacy. See Katz v. United States, 389 U.S. 347 (1967).
This protection extends to audio recordings of conversations in semi-private spaces not marked or
designated for public monitoring.

The City of Ocean Springs, through its agents and employees, caused or allowed the installation
and use of audio surveillance devices inside City Hall without public notice, signage, or policy.
The devices captured conversations in the hallway outside the Board of Aldermen meeting room,
a location where private and semi-private conversations frequently occur between journalists,
officials, and residents.

Plaintiff conducted numerous personal and professional conversations in this hallway, including
phone calls and interviews, with a reasonable expectation of privacy and no knowledge that audio
surveillance was occurring. No signs or warnings were posted, and the City later admitted it had
no policy governing who could access the recordings, how often, or for what purpose.

Plaintiff sent a formal inquiry to City Clerk Patty Gaston on June 2, 2025, seeking confirmation
about the extent of access to the recordings. Gaston did not respond. Meanwhile, whistleblowers
confirmed that city staff routinely accessed recordings, including following public meetings.

This warrantless, non-consensual audio surveillance violated Plaintiff's clearly established Fourth
Amendment rights. Defendants failed to demonstrate any lawful basis, public safety justification,
or procedural safeguards associated with the recordings. The absence of access controls, retention
policies, or oversight further underscores the unconstitutional nature of the surveillance.
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As a direct result of this practice, Plaintiff suffered a violation of his privacy, emotional distress,
and a chilling effect on his ability to gather news and speak freely. Defendants are liable under 42
U.S.C. § 1983 for the violation of Plaintiff's Fourth Amendment rights.

As a direct and proximate result of Defendants’ actions, Plaintiff suffered damages including but
not limited to emotional distress, reputational harm, loss of professional opportunities, and
violation of constitutional rights, for which he seeks compensatory and punitive damages.

Count V: Defamation

Defendants:

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Kenny Holloway (in his official and individual capacities)
Jennifer Burgess (in her official and individual capacities)
Patty Gaston (in her official and individual capacities)
Ken Papania (in his official and individual capacities)
Mike Impey (in his official and individual capacities)
Robert Wilkinson (in his official and individual capacities)
Kenny Williams (in his official and individual capacities)
Bonnie Munro(in her official and individual capacities)
Ryan Lemaire (in his official and individual capacities)
John/Jane Does 1-10

The City of Ocean Springs

Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein.

Under Mississippi law, a defendant is liable for defamation when they make a false and
defamatory statement about the plaintiff to a third party, with at least negligent disregard for its
falsity, and the statement causes harm to the plaintiff's reputation or standing in the community.

Defendants, acting individually and in coordination, made and disseminated false factual
assertions about Plaintiff, including—but not limited to—accusations that he was mentally
unstable, dishonest in his reporting, and abusive toward women. These statements were
knowingly false or made with reckless disregard for their truth or falsity.

Several of these defamatory statements were made by individuals in positions of governmental
authority, including the City Attorney and members of the Board of Aldermen. In some cases,
statements were made directly to members of the press, to city staff, and to members of the public
with the intent to discredit Plaintiff's journalism, isolate him from civic discourse, and undermine
his professional reputation.
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These statements were not made in any official governmental proceeding or protected legislative
context, nor were they subject to any valid privilege. Rather, they were motivated by personal
animus and political retaliation.

As a result of these false and defamatory statements, Plaintiff has suffered reputational harm,
emotional distress, loss of professional opportunities, and further retaliation by city officials and
third parties influenced by the defamatory messaging.

Plaintiff complied with the notice provisions of the Mississippi Tort Claims Act by serving
written notice of these claims on December 10, 2024, more than 90 days before filing suit.

Count VI: Intentional Infliction of Emotional Distress

Defendants:

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Kenny Holloway (in his official and individual capacities)
Jennifer Burgess (in her official and individual capacities)
Patty Gaston (in her official and individual capacities)
Ken Papania (in his official and individual capacities)
Mike Impey (in his official and individual capacities)
Robert Wilkinson (in his official and individual capacities)
Kenny Williams (in his official and individual capacities)
Bonnie Munro(in her official and individual capacities)
Ryan Lemaire (in his official and individual capacities)
John/Jane Does 1-10

The City of Ocean Springs

Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein.

Under Mississippi law, a defendant is liable for intentional infliction of emotional distress when
their conduct is so outrageous in character and so extreme in degree that it goes beyond all
possible bounds of decency and is regarded as atrocious and utterly intolerable in a civilized
society.

Defendants engaged in a prolonged pattern of harassment, retaliation, defamation, and targeted
exclusion of Plaintiff because of his constitutionally protected speech and activities, including his
journalism and public criticism of city officials. This conduct included false public accusations,
denial of government services, coordinated discrediting efforts, and the knowing spread of
stigmatizing personal attacks.

Defendants’ conduct was deliberate, malicious, and calculated to cause Plaintiff severe emotional
distress, humiliation, and social and professional harm.
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5.

As a result of this sustained campaign, Plaintiff experienced emotional trauma, reputational
damage, sleep disruption, and deterioration of personal and professional relationships. These
injuries were foreseeable and directly caused by Defendants’ intentional and extreme misconduct.

Count VII: Municipal Liability under 42 U.S.C. § 1983

Defendant:

1.
2.

The City of Ocean Springs
Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein.

At all relevant times, Defendant City of Ocean Springs acted under color of state law through its
officials, agents, and employees, including those with final policymaking authority.

The violations of Plaintiffs constitutional rights described in this Complaint—including First and
Fourth Amendment retaliation, denial of access, unequal treatment, unlawful surveillance, and
other abuses—were carried out pursuant to the City’s official policies, widespread practices, or
deliberate decisions by officials with final authority.

These constitutional violations were not isolated acts by rogue employees but were part of an
entrenched and coordinated pattern of behavior by senior City personnel, including the Mayor,
City Attorney, members of the Board of Aldermen, and department heads. The City either
directed these actions, had actual knowledge of them and failed to intervene, or maintained
customs and practices that encouraged or condoned such conduct.

The City’s failure to discipline, supervise, or correct unlawful actions by its officials, combined
with its retaliatory posture toward dissent, directly resulted in the harms suffered by Plaintiff. The
City also failed to implement or enforce adequate safeguards to prevent these types of
constitutional abuses.

As a direct and proximate result of the City’s policies, customs, and deliberate indifference,
Plaintiff suffered violations of his constitutional rights, including deprivation of free speech,
privacy, access to government, and equal protection under the law.

Count VII: Violation of the Mississippi Security of Communications Act

Defendant:

Kenny Holloway (in his official and individual capacities)
Patty Gaston (in her official and individual capacities)
The City of Ocean Springs

John/Jane Does 1-10

Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein.

The Mississippi Security of Communications Act prohibits the intentional interception,
disclosure, or use of any oral communication without the consent of at least one party to
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the communication, where there is a reasonable expectation of privacy. See Miss. Code
Ann. §§ 41-29-531 to -537.

Defendants, acting under color of law, caused or permitted the installation and use of
covert audio surveillance devices inside Ocean Springs City Hall, including at public
counters and meeting spaces where citizens engaged in personal or sensitive
conversations with city officials.

These devices were not disclosed to the public by signage or any other form of notice.
Members of the public—including Plaintiff—had a reasonable expectation that their
conversations in these spaces would not be secretly recorded by the government.

Upon information and belief, Plaintiff's voice was recorded at least once by these
unmarked listening devices, without his consent and outside the scope of any legal
warrant, court order, or exception authorized by state law.

The installation, operation, and use of these covert devices constituted an unlawful
interception of oral communications in violation of Miss. Code Ann. § 41-29-533 and
related provisions.

These violations were intentional or, at minimum, carried out with reckless disregard for
Plaintiff's privacy rights. The recordings were retained or used for retaliatory or
monitoring purposes, further aggravating the unlawful conduct.

As a direct and proximate result, Plaintiff suffered an invasion of privacy, emotional
distress, and a chilling of his lawful efforts to engage with government officials.

Prayer for Relief

WHEREFORE, Plaintiff respectfully requests that this Court:

1.

Award compensatory damages in an amount to be determined at trial for the emotional distress,
reputational harm, economic losses, and other injuries suffered by Plaintiff as a direct and
proximate result of Defendants’ unlawful conduct;

Award punitive damages against the individual Defendants who are not protected by immunity,
in an amount sufficient to punish and deter future unconstitutional and retaliatory actions;

Award nominal damages for the violation of Plaintiffs constitutional rights, even in the absence
of proven economic harm;

Award pre-judgment and post-judgment interest as permitted by law;

Grant declaratory and injunctive relief as appropriate, including orders enjoining Defendants
from further acts of retaliation or other constitutional violations;

Award reasonable attorney’s fees and litigation expenses, including but not limited to filing
fees, transcript costs, service of process, document reproduction, travel expenses, and other costs
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incurred in preparing and maintaining this action, pursuant to 42 U.S.C. § 1988 and other
applicable law;

7. Grant such other and further legal and equitable relief as the Court deems just, including any
measures necessary to remedy the constitutional injuries described herein and to prevent future
violations.

Jury Demand

Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a trial by
jury on all issues so triable.

Respectfully submitted,

EPG

Eric Brian Rosenberg

/s/ Eric Brian Rosenberg
a.k.a. E. Brian Rose

In Pro Se

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